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              EXHIBIT 4
Corel,ogic@ Rental Property Solutions                                         Page I of7
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Lease Recommendation
Report lnformation

'l'ransaction No. 0055780893

Property
1t323
Anthenr House
Baltimore MD 21230



Performed by VAl"LEN02

Perfolmed on WednesdayJuly 3, 2019 / 1'7:18: 3 [S't'



vour community,* decision for rhis transaction appears below bdsed on your nlanilSemenr company's eslablished decislon points for appllcant aPproval to your
community. Direct questions regarding these criteria to your managelnenl comPany.


LEASE RECOMMENDATION


  Messages (7)


          Scanned by AppALERl"



          'I   tte VA statewi.le crifltillal search requested was not processed becouse VA is already included in the Mqlri-state searclr.




          Prior to rnilking leasing decision, always check crlminol results.



      .   MD Starewide criminal request for MARY HART has been received for proc€ssing.




          CrinrSAFE search request received for processirrg.




           DC Statewide criDlinal request for MARY l'IART has been recelved for processing.




           registries accesstble through rhe cieparrmenr of.lustice DRt, SjODIN website. Results associated wiih this, will reflect on CrimSAFE report'




  .   SCORE R€COMMENOATION                                                                          Lease Agent Decision

      DECLINE                                                                                       The Agenr De(ision aftects (he entire transaction.




      Decision Mess.rge - Declined - does not pl'esently qualify




      CR'M RECOMMENDATION

      ACCEPT
      Approved




 https://www,reside ntscreening.net/rsn/dcf'ault,aspx?ns4:0&r:eportid:55780893*&SelApp:'                                                                  .,   812312019
Corelogic@                                                                   Page 2 of 7
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            1:19-cv-03141-MDLB


5creening Details

    Applicant

  Applicant lnformation

  Applicant Nanle:MARY    LEE HART

  Monthly lncome $1611

  Phone 0000000000

  Current Address
  600 ilGHT 429, BAI.TIMORE MD 21230



  s5N.***_**..3.1 58

  ooe!eas
  Email

  Previous Address


   Lease information

  Monthly Rent $2495

  Total lncome $161 1/monrh

   Bed Roonrs   1



   Marketing Source Bozzuto.col11

   Security Deposit $0

   LeaseTerm 12 Months

   Clielrt Reference


   Reports

   The following services were used in this transactlonl

                       ollr::"
   Multi"state Criminal SearchSuppressed

   CrirrSAFE - Search ReoortAccept

   Statewide Criminal - Regional LevelNot Processed


   ry
   Experi.rn CreditComplete

   Statewide Crimirral SearchSuppressed

   Sratewide Criminal - Regional Levelsuppressed

   ResiStryCHEqKComplete


   Letters

   Adverse Action




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                                                                                                                                                       August 23,2019
SAFERENT@ SCORE REPORT                                                                                                                                       3r47PM

REPORT INFORMATION

Transaction No:                         0055780893                                             Perform€d By:                     VAI",t,ENO2

Performed Onr                           WednesdayJuly 3,2019       / 17:18:9   EST             Property:                         1   1323 -   Anthem House

Request IDr                             o0N8H0t3

APPLICANT INFORMATION

                                                                                               ssN;                              ***_**"31 58
Name:                                   MARY LEE HART

Monthly Incomel                         $161   1
                                                                                               DOBI                              !ro+a
Phone:                                  0000000000                                             Email:

Current Address:                        600 LIGHT 429, BALTIMORE MD 21230                      Previous Address:

YOUR COMMUNITY'S DECISION

Appllcant Decisionl                     DECLINF

                                        Declined - does not presently qualify
youR MANAGFMENT COMpANy             ESTABUSHES CRtTERtA (DECIS|ON pOtNTS) APPROPRIATE FOR APpROVAL OF APPLICANTS TO YOUR COMMUNITY.
QUESTTONS RF-GARDtN6 Tt{ESE CRtTERtA SHOULD BE DIREcTED                 l'O YOUR MANAGEMF-NT COMPANY.

ATERT INFORMATION

Reler to your nranagement company's policy for h.lndling of specif'c alerts'
SCORE   AfiRIBUTE

lf irnproved, the following items could positively impact this applicant's score
'** Credit

** Application   Dat.1

LEASE   INFORMATION

Monthly      Rent:                       $2495                                                  security Deposlt:                 $0

Totat   Income:                          $161 1                                                 Lease   Termr                     1   2 Months

Bedrooms:                                1                                                      Mark€ting   Source:               BOZZUTO COm

Cll€nt Referencer                                                                               Rent/Incomel                      100    Yo


saFeRent€r score i:j deslgne€i as a usetul predictor tool, but is not a guaratltee of the future
                                                                                                 performance of an applicant. WARNING: A person musl have permissible




said tlrar consumer report users rnust corsult the relevant provisions   of the   FCRA   for details about tlreir obligatiorrs urrder the FcRA More information   aboua

consumerreport user's obligations is available at www.ftc gov/credit'




                                                                                                                               *&SelApp:".              812312019
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                                                                                                                                                  August 23,2019
EXPERIAN CREDIT REPORT                                                                                                                                  3:47Pt{

REPORT INFORMATION

Property ID:                          1t323                                                   Phone:                         443-914-2470

Prop€rty Nam€i                        Anthem House                                            Faxr

Request Date:                         07/03/2019                                              Request Type:                  Credit

Request ID:                           o0N8H0l3                                                Permissible Purpose:           Resident Screening

Process Datel                         o7   /03/2019   1   7:1   8:06

APPLICANT INFORMATION

Namei                                 MARY L HART                                             Suffix:

current Addressl                      600 LTGHT 429                                           SSNI                           xxx-xx-3'l 58
                                      BALTIMORE, MD 21230
Drivers License#:                                                                             Drivers Llcense Stater




                                                                             EXPERIAN CREDIT REPORT


TNA1 GA].{     1952648           HART,MARy r, sxxx3158tCA-500 LTGI',IT/BAI'TTMORE MD 2L230t
V- 194 8, T-   29., .,   . . t U-ANTSEM IIOUSE, RR-BOTI{1, H-y, V- 07 i PARSEDT PSUI'I



PAGE    1      DATE ?-03-2019 TXME 16:18!05 v101                         Tl'lD1


 MARY   I,   I{ART                               9S   I xs-xx-3158*                  EI EI,DERI,Y CARE AND FOSTE
*40:L E 25Tg S?                                         xxx- s -3158 f,              RP?D| 2-04 I
 sAr,TrMoRE MD 2L2185340                                   xtr-xx-6?04*
 RFTD! 8-10 TO 12-15 U 3x                        oonr       lee                      E!   RETIRED
 LAST SUBr 1"0{0381                                                                  RPTDr ?-03 I

*6225  YORK RD AP" N313
 BAT.TIMORE VID 2]^2]-22695
 RPTD!      ?-L3 U lX
13535 PEL:tAt'{ AvE FIJ       2
 BAT,TIMORE MD 2X213190I
 RPTDI       ?-06 TO 3-08     U



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  rNsT,/oru BAIJ- - - -S1, 021       scs/Esr PAY-- - -- ----$0               xNQS/6 MO---0          Now DE1./DR6---1
  R ESTETE BAI,- --.-.-N./A          R ESTATE PAY- -. - . - -!I./A           TRADFI,INE. . - 2      wAs DEt   ,/DRO- - - 1

  TOT REV BAI,. ^... -- -N,/A        Tor REv Avtrl,------N/A                 PAID ACCT--.1          OI,D TR.ADE-.2.13

                                               TRADES ------
  SUBSCRIBSR                            OPEN A]'fI-TYP1     A!4T-TYPz ACCTCOND PYMT STATUS
  SgB* KOB TYP TRM            BCOA   BAIJDATE  BAI'ANCE PYI'IT LEVEI' MOS REV PYItfT HISTORY
  ACCOIJ1tT *                        LAST PD MONTH PAY       PAST DUE MAXIMUM BY MONTH

 IVAI,I.Sf CREDIT SERVICE               2-15          $r".021-o                                               cot l,AccT
  sxxx54 Yc COIJ 1        1          7-0r.-19         $1.,021                 4    -r5         (52)   GGGGGEGGGGEGO

  xsxx4 0 0150                                                               $1,021         6.T7lC      EGGGGGGCCGGC

  ORIGINAI, CREDITOR. }{SDICAI, PAYMENT               DATA
  rT ACCOI'NT XNFORMATION DISPUTED BY                 CONSUMER          *f

 T1;ERIZON                    2-L3        UNK                                                 PAID      CO],I,ACC{
  #xxx30 UT lrlf     1 1 7-15-t4                                               7   -L4        (13) eGG--6-----eG
  xxxxx56??                   ', -L4
  ** ACCOI'NT CI,OSED AT CONSUMER'S REQUEST T*

                                                      INQUIRIES
  CREDIA ACCEPTANCE                  8-20-L8      26850r0          FA




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 END .- EXPERIAN

---   End of Experian Report ---




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                                                                                                                                          August 231 2019
CRIMSAFE REPORT                                                                                                                                 3t47PM

REPORT INFORMATION

Property ID:                    1t323                                       Phone:                                   443-914-2470

Property Namel                 Anthem House                                 Faxl

Request Date:                  07to3/2Q19                                   Request Type:                            CTimSAFE

Request lO!                    00N8H0r3                                     Permissible Purposel                     Resident Screening

Process Datel                  A7/0512019 09:07i29

APPLICANT INFORMATION

Name:                           MARY LEE HART                               5uffixr

SSN:                            xxx-xx-31 58                                DOEI                                     Jrlas
Addressl                        600 LIGHT 429
                                BALTIMORE, MD 21230


TRANSACTION(s}   U5ED

Request#                        Type                                        State                                    County

o0N8H0l6                        51ATEWIDE                                   MD                                        BALTIMORE CITY

o0N8H0t7                        MULTISTA'IE                                 MD

o0N8H0r8                        STATEWIDE                                   DC


                                MSSC)



                                                                 CRIMSAFE RESULT

               BASED UPON YOUR COMMUNITY CRIMSAFE SETTINGS AND TH€ RESULTS OF THIS SEARCH, NO DISQUALIFYING R€CORDS WERE FOUNO




 NOTF: THE ACCURATE INPUT OF NAME, SSN, DATE OF BIRTH AND ADDRESS IS REQUIRED TO IMPROVE THE RETRIEVAL OF INFORMATION
 RELATTNG TO THE AppLlcANT. A public record has been found with elentents rnatching the informatiotl
                                                                                                             presented by yor.rr applicant. However, it
 is your sole responsibility to compare these elenlents and/or to obtain additional verification of the information
                                                                                                                     provided' THOUGH THE
                                                                                                                                                 THIS
 INFORMATTON AS TO THE SUBIUCT OF THI tNVEST|GAT|ON CONIAtNED rN Tr-lls REPORT lS ACCURATELY COPIED rROM PUBLIC RECORDS,
 REPORT DOES NOT GT,IARANTTE       THF ACCURACY,   TRUTHFULNESS    OR  COMPLETTNESS       OF THE  INFORMATION     AS TO THE  SLJBJFCT   OF  THE

 INVESIIGATION, AND INFORMATION GENERATED AS A RESULT OF IDENTITY THEFI, INCLUDING EVIDENCE OF CRIMINAT ACTIVITY, MAY
                                                                                                                                              BE

 TNACCURAT€Ly   AssoctArED wtTH TtlE CONSUNIER wHO l5 TF|E sUBJECT OF THI REPORT. Remember, you musl comply with your obligations
 under the federal Fair Credit Reporting Act, your Servife Agreement, and the other applicabte federal, state and ltlcal laws




https://www.residentscreening.net/rsn/def'ault.aspx?ns4:0&reportid:55780893*&SelApp:..'                                                    812312019
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                                                                                                                                      August 23, 2019
REGISTRYCHECK REPORT                                                                                                                        3 : 47 Pl.l

                                                           REPORT INFORMATION 5€CTION



REPORT INFORMATION

Property IDr                 11323                                       Phone:                             443-914-24t4
Property Name:               Anthem llouse                               Faxl

Request Date:                07/03/2019                                  Request Type!                      Landlord Tenant

Request IDr                  o0N8H0r3                                    Permlsslble Purpose:               Resident Screening

Process Dater                071A3/'2019 17:1 8:06


APPTICANT INFORMATION

Namel                        MARY    t   HART                            suffixl
Current Address:             600 LtGFtT 429                              SSNr                               xxx-xx-31 58
                             BALIIMORE, MD 21230


                                                                 R€PORT SUMMARY


Report ID:                   00ss780893                                  Status:                            Completed



COURT RECORDS ON FILE

No Court Recr:rds Found


ADOITIONAL INFORMATION FOR VERIFICATION

LANDLORD A1 600 LIGHT IS CHRIS'I CHRUSCH HURBOR APART


Screened 8Y AppALERT(SM)




WARNIN6: A PERSON Mt,lST HAVE PERMISSIBLE PURPOSE UNDFR THE FAIR CREDIT RIPORTING ACT (FCRA) TO OBTAIN A CONSUMER REPORT, TI"{E FCRA IMPOsES PTNALTIE
S AGAINST ANYONE WHO KNOWINGLY AND WILI-FULIY OBTAIN5 INFORMATION ON A CONSU MER FROM A CONSUMER REPORTING
                                                                                                                    AGENCY UNDER FALSE PRETc NSES'
INCLUDING FINES , UP TO TWO YEARS IN PRISON OR BOTI,I. A CONSL'MER REPORTING A€ENCY MAY NOT PR OI.IIBIT YOU FROM DISCLOSING THE CONTENT5 OF THE
                                                                                                                                                   TO
RIpORT DtRECTLv TO THE CoNsU MER. tT 15 RECOMtvItNDED THAT YOU REFTR ALL INQUIRIES REGARDING THE INFORMAII ON CONTAINED lN TH|S REPORI DIRECTLV
T'-tE CORILOGIC RENTAL PROPE RlY SOLUTIONS LLC CONSUMER REQUEST LINE AT 1 -888-333-241 3.




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Mary Hart

                                                           ADVFRSE ACTION LETTER


Dear Marv H?rt, xxx-xx-3158
Thank you for your recent application to: Anthem House

At this time we are unable to approve your applicatioll.
This adverse action has been taken in accordance with the requirements of the federal Fair Credit Reporting Act, 15 U'S'C' 1681m(a).
This decision was based on:

I X ] Information containecl in consumer report(s) obtained from or through Corelogic@ Rental Property Solutions LLC, which may include
crecllt o. consumer information from one or more credit bureaus or consumer reporting agencies'

    CoreLogic@ Rental Property Solutions LLC can be reached at: Consumer Relations P'O. Box 509124 San Diego, CA 92150. By
    phone: (888) 333-2413.

[ ] Information obtained from a source other than a consumer reporting agency, (You have the right to disclosure of the nature of
ihis information, upon your furnishing proper identification, if you make a written request to us within 50 days of receiving
this letter.)


In evaluating-oiyollr applicatiotl, information obtained from or througl't Corelogic@ Rental Property Solutions LLC, which may include credit
information      consume. information from one or more of the credit bureaus or consumer reporting agencies, may have influenced our
decision in whole or in part. These consumer-reporting agencies ancl/or credit bureaus ciid not make the decision to take adverse action and
are unable to provide specific reasons why adverse action was taken.
YOU HAVE CERTA]N RIGHTS UNDER FEDERAL AND STATE LAW WITH RESPECT TO YOUR CONSUMER REPORT, IF ANY PERSON TAKES
ADVERSE ACTION BASED IN WHOLE OR IN PART ON ANY INFORN4ATION CONTAINED IN A CONSUMER REPORT OR CREDIT REPORT, YOU
HAVE THE RIGHT TO A D1SCLOSURE OF THE INFORMATION IN YOUR CONSUMER TILE FROM THE AGENCY THAT PROVIDED SUCH
]NFORMAT]ON, IF YOU MAKE A WRIT'TEN REQUEST TO THEM AND UPON YOUR PROPER IDENT]FICATION WITHIN 60 DAYS OF RECE]VING
THIS DENIAL, THE FFDERAL FAIR CREDIT REPORTING ACT ALSO PROVIDES THAT YOU ARE ENTITLED TO OBTAIN FROM ANY NATIONW1DE
CREDIT REPORTING AGENCY OR CREDIT BUREAU A FREE COPY OF YOUR REPORT IN ANY TWELVE P1ONTH PERIOD, YOU HAVE THE RIGHT
TO DIRECTLY DISPUTE WITH THE CONSUMER REPORTING AGENCY AND/OR CREDIT BUREAU THE ACCURACY AND COMPLETENESS OF ANY
INFORMATION FURNISHED BY THAT AGENCY OR BUREAU AND TO PROVIDE A CONSUMER STATEMENT DESCRIBING YOUR POSITION IF
YOU DISPUTE THF INFORMAT]ON IN YOUR CONSUMER FILE. IF YOU BELIEVE THE INFORMATION IN YOUR CONSUMER FILE 1S
                                                                                                                   AT
INACCURATE OR ]NCOMPLTTE, YOU MAY CALL CORELOG]C(O RENTAL PROPERTY SOLUTIONS LLC CONSUMER RELATIONS DEPARTMENT
(888) 333-2413. CORELOGTCO RENTAL PROPERTY SOLUTIONS LLC WILL INITIATE THE REINVEST]GATION OF ANY DISPUTED
iTNORUNTIOru OBTAINED THROUGH THEM AND WILL REINVESTIGATE ANY DISPUTED INFORMATION OBTA1NED FROM THEIR DATABASE.




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